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                                  6                                 UNITED STATES DISTRICT COURT

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                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  10   DREAMSTIME.COM, LLC, a Florida LLC,
                                  11                  Plaintiff,                            No. C 18-01910 WHA

                                  12           v.
Northern District of California
 United States District Court




                                  13   GOOGLE LLC, a Delaware LLC, and                      ORDER RE CIVIL LAW AND
                                       DOES 1–10,                                           MOTION HEARING DUE TO
                                  14                                                        PUBLIC HEALTH CONCERN
                                                      Defendants.
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                                            The June 18 motion hearing will be held telephonically per GENERAL ORDER 72-3. The
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                                       courtroom deputy will provide further instruction.
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                                            IT IS SO ORDERED.
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                                       Dated: June 10, 2020.
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                                  24                                                         WILLIAM ALSUP
                                                                                             UNITED STATES DISTRICT JUDGE
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